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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK


                                                    Plaintiff,

       New York Orthodontic Group, PLLC
                                                                  Case No.
                               -v-
                                                                       Rule 7.1 Statement
       Emanuel Mizrahi, D.D.S., P.C.
                                                    Defendant.




                    Pursuant to Federal Rule of Civil Procedure 7.1 [formerly Local
     General Rule 1.9] and to enable District Judges and Magistrate Judges of the Court
     to evaluate possible disqualification or recusal, the undersigned counsel for
      New York Orthodontic Group, PLLC                 (a private non-governmental party)

     certifies that the following are corporate parents, affiliates and/or subsidiaries of
     said party, which are publicly held.




      N/A




             January 4, 2022
     Date:
                                                         Signature of Attorney


                                                         Attorney Bar Code: JD 7204




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